                                                                                                 FILED
                           IN THE UNITED STATES DISTRICT COURT                                 JAN 272023
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION                                bsr
UNITED STATES OF AMERICA                              §
                                                      §
V.                                                    §         CRIMINAL NO. 1 :22-CR-053-LY
                                                      §
(1) FRANKLIN BARRETT SECHRIEST                        §




       Before the Court is Defendant Franklin Barrett Sechriest's Agreed Motion for

Continuance (Clerk's Doc. #66) filed on January 23, 2022. Having considered the motion the

court is of the opinion that the motion should be granted as follows,

       ACCORDINGLY, IT IS ORDERED that all pretrial motions shall be filed on or

before February 10, 2023, and any response to a motion shall be filed on or before February

24, 2023.


       IT IS FURTHER ORDERED that the above entitled and numbered case is reset for

hearing on all pending pretrial motions and docket call on March 3, 2023, at 9:30 AM, with

jury selection and trial on March 20, 2023, at 9:00 AM.

       Pursuant to the Speedy Trial Act, 18 U.S.C.         §   3161(h)(7), the Court finds that the ends of

justice served by allowing the Defendant additional time for pretrial preparation outweighs the

best interest of the public and the Defendant in a speedy trial. The Court's basis for said finding is

that the failure to grant such a continuance in this case would deny counsel for the Defendants the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence.   See 18   U.S.C.   §   3161(h)(7). Thus, the Court finds that the time between the previous

trial setting of February 13, 2023, and the new setting of March 20, 2023, is excludable under the

Speedy Trial Act, 18 U.S.C.         §   3161(h)(7).
       IT IS FURTHER ORDERED that counsel for the Defendant shall           notif' the Defendant of

all Court settings and,   if the Defendant is on bond, advise the Defendant that the Defendant must

be present on the dates and times specified in this Order.

        SIGNED this                 day of January, 2023.




                                               UNITED STATES DISTRICT JUDGE
